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16                                UNITED STATES DISTRICT COURT

17                                      DISTRICT OF NEVADA

18   UNITED STATES OF AMERICA,                          )    Case No: 2:17-cv-02303-MMD-PAL
                                                        )
19                   Plaintiff,                         )
                                                        )
20          v.                                          )     JOINT MOTION FOR ENTRY OF
                                                        )         ORDER PROTECTING
21   COUNTY OF CLARK and                                )     CONFIDENTIAL INFORMATION
     NEVADA LINKS, INC.,                                )
22                                                      )
                     Defendants.                        )
23                                                      )

24

25          The parties are engaged in discovery in this matter and have determined that discovery

26   may result in the disclosure of privileged, confidential, proprietary, business, financial, or

27   otherwise sensitive information. By this joint motion, the parties respectfully request that the

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 1   Court enter the following order to facilitate discovery and protect the parties’ confidential

 2   information.

 3
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 4   John R. Kresse
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 1          Whereas, plaintiff United States of America (“United States”) and defendants County of

 2   Clark (“County”) and Nevada Links, Inc. (“Nevada Links”) (collectively, “the Parties” and

 3   each, a “Party”) have determined that discovery may result in the disclosure of privileged,

 4   confidential, proprietary, business, financial, or otherwise sensitive information.

 5          Whereas, to protect the legitimate concerns of the Parties, as well as any third parties

 6   required to respond to discovery in this matter, which may arise out of any such information

 7   that may be made available during discovery, the Parties jointly requested that the Court enter

 8   the following order (the “Confidentiality Order”) in accord with Rule 26(b)(5) and 26(c) of the

 9   Federal Rules of Civil Procedure.

10          Accordingly, IT IS ORDERED that the Parties’ Joint Motion for Entry of Order

11   Protecting Confidential Information is granted, and that the following procedures control

12   discovery in this litigation regarding privileged, confidential, proprietary, business, financial, or

13   otherwise sensitive information:

14      1. The Parties have agreed, with reliance on Federal Rule of Civil Procedure 26 and

15   Federal Rule of Evidence 502, to entry of this Confidentiality Order to preserve the

16   confidentiality of certain information that may be disclosed in discovery in this case and to

17   protect against the inadvertent disclosure of documents or information subject to a claim of

18   privilege by any Party.

19      2. This Confidentiality Order governs all documents and information produced by each

20   Party in this case: the County, Nevada Links, and the United States.

21          The Parties recognize that documents and information provided in discovery in this case

22   may contain sensitive financial or commercial information, trade secrets, and/or other private

23   information protected against disclosure, either by contract or by law, including but not limited

24   to the Privacy Act, 5 U.S.C. § 552a, and the Trade Secrets Act, 18 U.S.C. § 1905.

25      3. Definitions:

26          A. “Confidential Information” means any documents; information contained within any

27      documents; and any other information, written or oral, provided in discovery and designated

28      as “confidential” by the Designating Party. Confidential Information does not include any


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 1      information, document, or thing (or information derived therefrom) that: (1) at the time of

 2      or after disclosure is available to or known to the public or that is required by law to be

 3      disclosed; or (2) when a Party releases a claim of confidentiality or otherwise gives

 4      permission to use Confidential Information in any public or unrestricted manner. A Party

 5      waives its claim to confidentiality of any information that the Party files with the Court as

 6      unsealed matter.

 7          B. “Designating Party” means the Party (or a non-Party participating in this action) that

 8      designates material as “confidential” in accord with this Order.

 9          C. “Privileged Matter” means documents or information protected from disclosure by

10      the attorney-client privilege, work product doctrine, deliberative process privilege, or any

11      other immunity from discovery.

12          D. “Producing Party” means the Party (or non-Party participating in this action) that

13      produces or otherwise discloses Confidential Information or Privileged Matter.

14          E. “Receiving Party” means the Parties to this action (or non-parties participating in this

15      action) receiving Confidential Information or Privileged Matter.

16      4. To claim Confidential Information, the Designating Party or its counsel must clearly

17   mark each page of a document “CONFIDENTIAL” when produced in paper form and, for any

18   documents produced in PDF or any other electronic file format, must digitally tag or flag pages

19   as “CONFIDENTIAL” in a manner agreeable to the Parties.

20      5. An inadvertent failure by a Producing Party to designate any material as Confidential

21   Information does not waive any claim of confidentiality. If a Party inadvertently fails to

22   designate any material as Confidential Information, that material will still be treated as

23   Confidential Information if the Producing Party notifies the other Parties in writing, as soon as

24   practicable, designating the material as Confidential Information. Upon receipt of such written

25   notice, the Receiving Parties must treat the designated material as Confidential Information and

26   must stamp or mark it accordingly, or, if provided correctly designated copies of the material,

27   destroy the undesignated material or return it to the Producing Party. The Parties will not be

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 1   responsible for any disclosure of the undesignated material before receipt of such written notice,

 2   provided such use or disclosure of the material was proper at the time.

 3      6. Any deposition testimony in this case will be treated as “Confidential Information” 21

 4   calendar days after delivery of the deposition transcript to the Designating Party. The testimony

 5   will be deemed to contain no Confidential Information unless the Designating Party identifies

 6   by page and line any Confidential Information claimed in the transcript before the expiration of

 7   the 21 calendar days.

 8      7. “Confidential Information” disclosed to a Receiving Party or its counsel in the case:

 9   (a) may be used by a Receiving Party and counsel only for the purposes of this case; (b) may

10   not be published to the public in any form by any Receiving Party or counsel, or used by a

11   Receiving Party for any business or commercial purpose; and (c) may be disclosed only to the

12   following persons:

13          (i) Counsel of record for a Party (including any other attorneys employed by a Party).

14          (ii) Secretarial, clerical, or paralegal personnel employed full-time or part-time by

15      counsel of record for a Party who are assigned work for this case.

16          (iii) Independent (non-employee) expert witnesses or advisors retained by any Party in

17      connection with the case.

18          (iv) Officers and managerial or supervisory personnel of the Parties.

19          (v) Court reporters or stenographers engaged to record deposition or hearing testimony,

20      and their employees.

21          (vi) Any person disclosed in the Parties’ initial disclosures or supplemental disclosures

22      as a potential witness or person with relevant information under Fed. R. Civ. P. 26(a)(1), so

23      long as the Party disclosing the Confidential Information has a good faith belief that the

24      witness may be called to testify in the case about the subject matter of the Confidential

25      Information and the person does not retain the Confidential Information.

26          (viii) Any person called to testify under oath by the Parties in this litigation, during their

27      testimony, provided the person does not retain the Confidential Information.

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 1          (ix) Any other person (a) authorized in writing by counsel for the Designating Party to

 2      receive Confidential Information, or (b) approved by the Court upon motion of any Party.

 3      8. A copy of this Confidentiality Order must be delivered to each Party and to each person

 4   within categories (ii) through (ix) of paragraph 7(c) above to whom a disclosure of Confidential

 5   Information is made, upon or before disclosure, by the Party making the disclosure or by its

 6   counsel. All persons in categories (i) through (ix) above must acknowledge receipt of the order

 7   in writing and their understanding that any breach of the terms of the order may be punished as

 8   a contempt of court. Notwithstanding execution of a written acknowledgment, the provisions of

 9   this Confidentiality Order are binding upon each person to whom disclosure is made.

10      9. The provisions of this Confidentiality Order may not be construed as preventing: (a) any

11   disclosure of Confidential Information by any Party where required by law, court order, or

12   subpoena; however, the Party must comply with ¶ 17 (below) in giving the Designating Party

13   prompt notice of its intent to make such a disclosure in order to provide the Designating Party a

14   reasonable opportunity to object to such disclosure; or (b) any disclosure of Confidential

15   Information, in accordance with the provisions of this Confidentiality Order, to any judge,

16   magistrate, or employee of this Court for purposes of these proceedings; or (c) any disclosure of

17   Confidential Information to or by any governmental entity for the purpose of the enforcement of

18   the civil or criminal laws.

19      10. If a Party desires to file Confidential Information with the Court and/or a pleading,

20   motion, or other paper that discloses Confidential Information, the Party must comply with the

21   requirements of LR IA 10-5 and first obtain an order, by stipulation or motion, from the Court

22   permitting the filing under seal. All Confidential Information permitted to be filed under seal

23   will be kept under seal until further order of the Court.

24      11. Nothing in this Confidentiality Order limits the right of a Party to object to the

25   production or disclosure of any documents or information on any ground (other than on the

26   basis of Confidential Information) including, without limitation, that the documents or

27   information are Privileged Matter. The Parties further recognize the possibility of inadvertent

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 1   disclosure of Privileged Matter. This order recognizes and approves the Parties’ stipulated

 2   agreement regarding the inadvertent disclosure of Privileged Matter:

 3          A. The searches and reviews conducted for the purpose of providing discovery qualify

 4      under Fed. R. Evid. 502(b)(2) as “reasonable steps to prevent disclosure” of Privileged

 5      Matter, provided the documents and information produced have been searched for the

 6      names of known attorneys and for the presence in such documents for the terms

 7      ”privileged,” “privilege,” ”attorney-client,” "work product,” and – for the United States --

 8      “deliberative,” and the Parties agree that documents and information that contain Privileged

 9      Matter or that are otherwise protected are not required to be produced;

10          B. The disclosure or production, despite the application of such searches and reviews,

11      of any Privileged Matter or otherwise protected document or information is “inadvertent”

12      within the meaning of Fed. R. Evid. 502(b)(l); and

13          C. After inadvertent disclosure or production of Privileged Matter, any Party following

14      the procedures set out below will have taken “reasonable steps to rectify the error” within

15      the meaning of Fed. R. Evid. 502(b)(3). Accordingly, to prevent injustice from inadvertent

16      disclosure or production of Privileged Matter, the parties agree and it is ordered that:

17              (1) If a Party has satisfied the requirements of paragraph 11(A) above but

18          nevertheless has disclosed or produced Privileged Matter, such privilege or protection is

19          not waived by such disclosure or production. As established by Fed. R. Evid. 502(d)

20          and (f), this finding of nonwaiver also applies in any other federal or state proceeding.

21              (2) A Producing Party who desires to claim that an already produced document or

22          information constitutes Privileged Matter must provide notice ("Notice") to counsel for

23          all Parties. The Notice must contain information sufficient to identify: (a) the document

24          or information by its specific identifying characteristics, such as by Bates number, and

25          must include any other information reasonably necessary to locate the materials

26          produced; and (b) the basis for the assertion that it contains Privileged Matter. An initial

27          Notice may be made orally on the record at a deposition or hearing, provided that it is

28          confirmed via electronic mail within seven calendar days.


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 1              (3) After Notice, all Parties must promptly take reasonable steps to retrieve the

 2          Privileged Matter from anyone to whom a copy or disclosure has been afforded and to

 3          destroy all copies in a secure manner. A Party may challenge the assertion of privilege

 4          by motion to the Court within fourteen days of receipt of the Notice, following good

 5          faith efforts to confer and resolve the matter. As provided by Fed. R. Civ. P.

 6          26(b)(5)(B), the Producing Party must preserve the document or information until the

 7          claim of privilege or other protection is resolved.

 8              (4) After Notice, and unless the Parties agree in writing or the court otherwise

 9          permits, no Party may disclose or refer to the Privileged Matter, whether in writing or

10          orally, to any person, or otherwise use the document or information in this or any other

11          case.

12      12. This Confidentiality Order does not: (A) operate as an admission by any Party that any

13   particular discovery material contains or reflects trade secrets, proprietary or commercial

14   information, privileged information, or other confidential matter; (B) prejudice in any way the

15   right of a Party to object to the production of documents it considers not subject to discovery; or

16   (C) prejudice in any way the right of a Party to seek a Court determination concerning (1)

17   whether particular discovery material should be produced, or (2) if produced, whether such

18   material should be subject to the terms of this Confidentiality Order; or (D) prejudice in any

19   way the right of a Party to apply to the Court for a further protective order relating to any

20   Confidential Information.

21      13. A Party seeking to use Confidential Information during any hearing or trial, including

22   through argument or the presentation of evidence, may do so only after taking steps that the

23   Court deems necessary to preserve the confidentiality of the Confidential Information.

24      14. A Party may challenge the designation of any material or document as Confidential

25   Information by using the following procedure:

26          A. Notice; Meet and Confer. The challenging Party must (1) notify counsel for the

27      Designating Party in writing that explains a good faith basis for its contention that the

28      confidentiality designation was not proper and (2) give the Designating Party an opportunity


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 1      to review the designated material, to reconsider the designation, and, if no change in

 2      designation is offered, to respond to the challenging Party in writing within five business

 3      days. If the Designating Party fails to timely respond, the challenged material will no longer

 4      be treated as Confidential Information. If the challenge remains unresolved, the Parties

 5      involved must meet and confer to attempt to resolve the dispute. If they are still unable to

 6      resolve the dispute, the challenging Party may file a motion with the Court (in compliance

 7      with ¶ 14.B., below). If no motion is filed, the challenged material will continue to be

 8      treated as Confidential Information.

 9          B. Judicial Intervention. A Party challenging a confidentiality designation may file and

10      serve a motion under seal that identifies the challenged material and sets forth in detail the

11      basis for the challenge. The motion must be accompanied by a declaration affirming that

12      the movant has complied with ¶ 14.A., above. The Designating Party bears the burden of

13      persuasion in opposing the motion. Until the Court rules on the challenge, all Parties must

14      continue to treat the materials as Confidential Information.

15      15. All Parties, including their employees and agents, the Parties’ counsel and employees

16   and agents of counsel must take reasonable steps necessary to prevent disclosure of Confidential

17   Information to unauthorized persons.

18      16. Upon conclusion of the case, a Party may request the return of all previously produced

19   material containing “Confidential Information,” including copies. Within 30 days from the

20   receipt of such request, each person or Party to whom Confidential Information had been

21   produced must return it, including any copies, or destroy it and certify that it has been

22   destroyed.

23      17. If a Receiving Party is served with a subpoena or an order issued in other litigation that

24   would compel disclosure of another Party’s Confidential Information, within three business days

25   after receiving the subpoena or order, the Receiving Party must notify in writing the Designating

26   Party and attach or enclose a copy of the subpoena or order. Also within three business days

27   after receiving the subpoena or order, the Receiving Party must notify in writing the party who

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 1   caused the subpoena or order to issue that some or all of the material covered by the subpoena or

 2   order is subject to this Order, and attach or enclose a copy of this Order.

 3      The purpose of imposing these duties is to alert the interested persons to the existence of

 4   this Order and to afford the Designating Party in this case an opportunity to try to protect its

 5   Confidential Information in the court from which the subpoena or order issued. The Receiving

 6   Party must cooperate with the Designating Party in connection with seeking protection in that

 7   court of its Confidential Information, but the Designating Party bears the burden and the

 8   expense of seeking such protection. Nothing in these provisions should be construed as

 9   authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from

10   another court. The obligations set forth in this paragraph remain in effect while the Receiving

11   Party has in its possession, custody or control Confidential Information of the Designating

12   Party. Before complying with the subpoena or order, the Receiving Party must wait a

13   reasonable amount of time before disclosing such Confidential Information (not less than 15

14   days after notifying the Designating Party, unless the subpoena or order mandates compliance

15   within a shorter time period), to permit the Designating Party to object to such compliance.

16      18. Unless otherwise provided above, no restrictions imposed by this Confidentiality Order

17   may be waived, modified, dissolved, or terminated, except by written agreement executed by

18   counsel of record for the Parties or by further order of the Court.

19      19. This Confidentiality Order has been entered to facilitate discovery and the production

20   of relevant evidence in this action. Neither the entry of this Confidentiality Order, nor the

21   designation of any information, document, or the like as Confidential Information, nor the

22   failure to make such designation, will constitute evidence with respect to any issue in this

23   action.

24   IT IS SO ORDERED.
25
                                                   UNITED STATES MAGISTRATE JUDGE
26
                                                   DATED:
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 1                                  CERTIFICATE OF SERVICE

 2          In compliance with the Court’s Local Rule 5-1, the undersigned certifies that on

 3   February 16, 2018, a copy of the foregoing document, “Joint Motion for Entry of Order

 4   Protecting Confidential Information,” was served (via the Court’s CM/ECF system) upon

 5   counsel of record for defendants.

 6
                                                                s/ John R. Kresse
 7                                                              John R. Kresse
                                                                Attorney for the United States
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